Case 3:18-cv-15286-MAS-LHG Document 54-1 Filed 09/24/19 Page 1 of 3 PageID: 521



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


  IN RE: VALEANT PHARMACEUTICALS                                 Civil Action No. 15-7658
  INTERNATIONAL, INC. SECURITIES
  LITIGATION                                                     JUDGE MICHAEL A. SHIPP
                                                                 JUDGE LOIS H. GOODMAN
  _____________________________________
                                                                 JUDGE DENNIS CAVANAUGH, RET.
  THIS DOCUMENT RELATES TO:                                      SPECIAL MASTER

  18-cv-15286-MAS-LHG (Northwestern Mutual
  Life Insurance Co.)


                          STIPULATION AND [PROPOSED] ORDER

        WHEREAS, on October 24, 2018, Plaintiffs in the above-captioned action (the “Action”)

 filed a Complaint (the “Complaint”) against Valeant Pharmaceuticals International, Inc., n/k/a

 Bausch Health Companies Inc. (“Valeant”), J. Michael Pearson, and Robert L. Rosiello

 (collectively, “Defendants,” and together with Plaintiffs, the “Parties”);

        WHEREAS, this Action is one of twenty-nine opt-out actions pending in the District of

 New Jersey related to the class action in In re Valeant Pharmaceuticals International, Inc.

 Securities Litigation, Case No. 15-cv-7658 (the “Class Action”);

        WHEREAS, on October 24, 2018 all Defendants filed Amended Answers in the Class

 Action, see No. 15-cv-7658 (ECF Nos. 378, 379) (collectively, the “Class Action Answers”);

        WHEREAS, there is substantial factual overlap between the allegations in this Action and

 the Class Action;

        WHEREAS, in view of the substantial factual overlap with the Class Action, the Parties

 have agreed that it would be inefficient for Defendants to admit or deny every allegation in the

 Complaint pursuant to Fed. R. Civ. P. 8(b) at this time;

        WHEREAS, on April 24, 2019, the Parties agreed that Defendants, to the extent all
Case 3:18-cv-15286-MAS-LHG Document 54-1 Filed 09/24/19 Page 2 of 3 PageID: 522



 claims against a defendant have not been dismissed, will file answers to the Complaint within 60

 days of the Court’s ruling on the motions to dismiss, see No. 18-cv-15286 (ECF No. 43);

         IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of

 the Parties, that:

         (a)     Defendants, to the extent all claims against a defendant have not been dismissed,

 will file answers to the Complaint (the “Opt-Out Answers”) incorporating by reference the Class

 Action Answers;

         (b)     The Opt-Out Answers will (1) respond to allegations in Sections III.A and VIII,

 as well as those portions of Section XII of the Complaint concerning causes of action not raised

 in the Class Action; and (2) will identify any applicable affirmative defenses not raised in the

 Class Action Answers;

         (c)     No allegations in the Complaint shall be deemed admitted pursuant to Fed. R.

 Civ. P. 8(b)(6) unless admitted in the Opt-Out Answers or the Class Action Answers;

         (d)     Plaintiffs may subsequently request responses to specific paragraphs of the

 Complaint containing factual allegations that they reasonably believe are not addressed by the

 Opt-Out Answers and their incorporation of the Class Action Answers, and Defendants shall be

 provided 60 days to file amended Opt-Out-Answers or seek relief from the Court.




                                                  2
Case 3:18-cv-15286-MAS-LHG Document 54-1 Filed 09/24/19 Page 3 of 3 PageID: 523



        Stipulated and agreed to by:

 DATED: September 24, 2019

  KASOWITZ BENSON TORRES LLP                    McCARTER & ENGLISH, LLP

  /s/ Stephen W. Tountas                        /s/ Richard Hernandez
  Stephen W. Tountas                            Richard Hernandez
  One Gateway Center                            Four Gateway Center
  Suite 2600                                    100 Mulberry Street
  Newark, NJ 07102                              Newark, NJ 07102
  Telephone: (973) 645-9462                     Telephone: (973) 848-8615
  Fax: (973) 643-2030                           Fax: (973) 297-6615

  Local Counsel for Plaintiffs                  Local counsel for Valeant Pharmaceuticals
                                                International, Inc., and Robert L. Rosiello
  LABATON SUCHAROW LLP
                                                SIMPSON THACHER & BARTLETT LLP
  Serena P. Hallowell (admitted pro hac vice)
  Mark S. Willis (admitted pro hac vice)        Paul C. Curnin (admitted pro hac vice)
  Eric J. Belfi (admitted pro hac vice)         Craig S. Waldman (admitted pro hac vice)
  Thomas W. Watson (admitted pro hac vice)      Dean McGee (admitted pro hac vice)
  140 Broadway                                  425 Lexington Avenue
  New York, NY 10005                            New York, NY 10017-3954
  Telephone: (212) 907-0700                     Telephone: (212) 455-2000
  Fax: (212) 818-0477                           Fax: (212) 455-2502

  Counsel for Plaintiffs                        Counsel for Valeant Pharmaceuticals
                                                International, Inc. and Robert L. Rosiello

                                                DEBEVOISE & PLIMPTON LLP

                                                /s/ Matthew Petrozziello
                                                Matthew Petrozziello
                                                919 Third Avenue
                                                New York, NY 10022
                                                Telephone: (212) 909-6000
                                                Fax: (212) 909-6836

                                                Jonathan R. Tuttle (admitted pro hac vice)
                                                Ada F. Johnson (admitted pro hac vice)
                                                801 Pennsylvania Avenue, NW
                                                Washington, D.C. 20004
                                                Telephone: (202) 383-8000
                                                Fax: (202) 383-8118

                                                Counsel for J. Michael Pearson


                                                3
